     Case: 1:24-cv-05559 Document #: 17 Filed: 07/16/24 Page 1 of 2 PageID #:477

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Dorit Maritta Fuhg
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:24−cv−05559
                                                                     Honorable Sunil R.
                                                                     Harjani
The Partnerships and Unincorporated Associations
Identified on Schedule A
                                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 16, 2024:


         MINUTE entry before the Honorable Sunil R. Harjani: Plaintiff's motion for leave
to file under seal [12], motion to exceed page limitation [13], and ex parte motion for a
temporary restraining order, including a temporary injunction, a temporary asset restraint,
expedited discovery, service of process by email and/or electronic publication [14] are
granted. Plaintiff's submissions establish that, were defendants to learn of these
proceedings before the execution of plaintiff's requested preliminary injunctive relief,
there is a significant risk that defendants could destroy relevant documentary evidence and
hide or transfer assets beyond the reach of the Court. Accordingly, subject to unsealing at
an appropriate time, plaintiff may file under seal the documents identified in the motion to
seal. The Temporary Restraining Order being entered along with this minute order shall
also be placed under seal. In addition, for the purpose of the motions cited above,
plaintiff&#039;s filings support proceeding on an ex parte basis at this time. Specifically,
and as noted above, were defendants to be informed of this proceeding before a TRO
could issue, the Court finds that it is likely that their assets and websites would be
redirected, thus defeating plaintiff's interests in identifying defendants, stopping
defendants' infringing conduct, and obtaining an accounting. In addition, the evidence
submitted by plaintiff shows a likelihood of success on the merits (including evidence of
active infringement and sales into Illinois), that the harm to plaintiff is irreparable, and
that an injunction is in the public interest. An injunction serves the public interest because
of the consumer confusion caused by defendants' unauthorized use of plaintiff's
copyrighted works, and there is no countervailing harm to defendants from an order
directing them to stop infringement. Electronic service of process does not violate any
treaty and is consistent with due process because it effectively communicates the
pendency of this action to defendants. Expedited discovery is warranted to identify
defendants and to implement the asset freeze. The Court presumptively requires a bond of
$1,000 per defendant. Enter Sealed Temporary Restraining Order at 3:45 p.m. on
7/16/2024. Plaintiff shall file the TRO extension motion (or a preliminary injunction
motion) if appropriate no later than 7/23/2024. Telephone status hearing is set for
7/30/2024 at 9:15 a.m. Members of the public and media will be able to call in to listen to
  Case: 1:24-cv-05559 Document #: 17 Filed: 07/16/24 Page 2 of 2 PageID #:478

this hearing but will be placed on mute. The call−in number is (855) 244−8681 and the
access code is 172 628 1276##. Persons granted remote access to proceedings are
reminded of the general prohibition against photographing, recording, and rebroadcasting
of court proceedings. Mailed notice(lxs, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
